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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 THE HON. PAULINE NEWMAN,
 Circuit Judge
 United States Court of Appeals for the Federal Circuit,
                                              Plaintiff,
                v.

 THE HON. KIMBERLY A. MOORE,                                         NO. 1:23-CV-01334-CRC
 in her official capacities as
 Chief Judge of the U.S. Court of Appeals for the Federal Circuit,
 Chair of the Judicial Council of the Federal Circuit, and           REPLY TO DEFENDANTS’
 Chair of the Special Committee of the Judicial Council of the       NOTICE (ECF 40)
 Federal Circuit,

 THE HON. SHARON PROST,
 in her official capacity as
 Member of the Special Committee of the Judicial Council of the
 Federal Circuit,

 THE HON. RICHARD G. TARANTO,
 in his official capacity as
 Member of the Special Committee of the Judicial Council of the
 Federal Circuit,

 and

 THE JUDICIAL COUNCIL OF THE FEDERAL CIRCUIT,
 AND ALL MEMBERS THEREOF,

                                               Defendants.



       Plaintiff, the Hon. Pauline Newman, submits this reply to Defendants’ Notice of February 7,

2024 (ECF 40).

       Defendants notified the Court that on February 7, 2024, the Judicial Conduct and Disability

Committee (JC&D) issued an order affirming the September 20, 2023 order of the Judicial Council of

the Federal Circuit which subjected Plaintiff, the Hon. Pauline Newman, to a one-year renewable

suspension. See ECF 40, Attch. 1.
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        Two matters are of note in the JC&D Order.

        First, the JC&D explicitly held that the proceedings before the Judicial Council and before the

JC&D itself “are administrative, and not judicial, in nature.” Id. at 16 (quoting In re: Complaint of Judicial

Misconduct, C.C.D. 09-01, pp 20-21 (Jud. Conf. Oct. 26, 2009)). This holding directly contradicts

Defendants’ claims in this court. See ECF 25 at 24-28 (arguing that Judicial Council proceedings are

“judicial in nature” leaving this Court without original jurisdiction).

        Second, consistent with prior practice, see In re: Complaints of Judicial Misconduct or Disability, No.

98–372–001 at 21 (Jud. Conf., Sept. 18, 1998) at 21, the JC&D declined to evaluate Judge Newman’s

constitutional claims, thus leaving these matters to properly constituted Article III courts.

                                                     ***

        In addition, Judge Newman wishes to bring to the Court’s attention two other actions

Defendants have taken against her in the past several weeks. First, it appears that sometime in January

2024, Judge Newman’s chambers were removed from an “All Judges” email list, thus leaving Judge

Newman without information regarding the activity of her own court. Second, the Judicial Council

voted to deny Judge Newman’s routine request to extend the term of service of one of her law clerks

for several months. Based on the communication to Judge Newman (see Attch. A), it appears that the

Judicial Council will not permit the hiring of any other staff. Thus, Defendants have not only

suspended Judge Newman from hearing cases but are trying to preclude her from exercising judicial

functions of any kind—and appear intent to do so going forward.

        For all of these additional reasons, this Court should deny Defendants’ motion to dismiss.



                                                           Respectfully submitted,

                                                           /s/Gregory Dolin
                                                           Gregory Dolin, MD
                                                           Senior Litigation Counsel
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                                /s/John J. Vecchione
                                John J. Vecchione
                                Senior Litigation Counsel

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